Case 1:17-cv-02374-RRM-ST Document 41 Filed 07/02/18 Page 1 of 1 PageID #: 324


                                            CIVIL MINUTE ENTRY


BEFORE:                               Magistrate Judge Steven L. Tiscione


DATE:                                 July 2, 2018


TIME:                                 10:30 A.M.


DOCKET NUMBER(S):                     CV-17-2374 (RRM)


NAME OF CASE(S):                      CAPITAL 7 FUNDING V. WINGFIELD CAPITAL CORP. ET AL.



FOR PLAINTIFF(S):                     Bowers



FOR DEFENDANT(S):                     Simon, Langweber



NEXT CONFERENCE(S):                   See rulings below



FTR/COURT REPORTER:                   12:08 - 12:09

RULINGS FROM STATUS CONFERENCE:

Parties shall jointly file a discovery plan worksheet by July 23, 2018.
